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                                          April 24, 2020

Hon. Steven Tiscione
Via ECF

Re:    Hammock v. Moving State to State LLC et. al

       Service of Third Amended Complaint

Dear Magistrate Judge Tiscione:

Throughout this matter the personal defendants Yarin Nadel and Michael Nadel, and the numerous
shell companies they control, have attempted to avoid service by any means possible, including
through the use of aliases and fake names. They have been ordered to appear before Judge Johnson
and found to be in contempt of court for non-appearance.

Subsequent to this finding of contempt and to a default on a prior Complaint in this matter, both
men have been arrested and are currently undergoing criminal prosecution in United States v.
Nadel (1:19-cr-00493) on charges related to the allegations in the civil matter before you. On
December 5, 2019, attorney Dmitriy Shakhnevich entered an appearance on behalf of both men in
the criminal case. He subsequently made contact with our office, where we discussed settlement
prospects. On January 22, 2020 we requested Mr. Shakhnevich waive service of process of the
Third Amended Complaint on behalf of his clients and did not receive a response. The criminal
action is still pending and appears to be in the discovery phase.

Due to Defendants repeated attempts to dodge service and the mounting illegal conduct during the
pendency of this civil matter, requiring substantive amendments to the original Complaint, one of
their victims and my firm’s client, Cory Hammock, has outlain significant expenses in repeatedly
attempting to serving process on them and their respective shell companies, amounts which he
may never recover. Each and every time with the prior two Complaints, Defendants have been
served in this matter properly and failed to appear.

In light of this, Plaintiff Cory Hammock requests that this Court direct that good and sufficient
service of process of this Third Amended Complaint on the Defendants be effected through e-mail
of the Third Amended Complaint to their attorney in the criminal matter at his e-mail address
registered with this Court’s ECF system for receiving court notifications. Although Mr.
Shakhnevich has not entered an appearance in this civil matter, as an officer of this Court
representing the Defendants in a related criminal matter, there is no doubt that the Complaint
transmitted to him in this way will fail to find its way into the hands of the defendants. It is thus
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reasonably targeted to give actual notice to the Defendants of the additional claims in the Third
Amended Complaint.

Respectfully,

/s/ Bryce Jones
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Attorney for Plaintiff
